Case 2:19-bk-20341-RK   Doc 8 Filed 10/01/19 Entered 10/01/19 11:20:28   Desc
                         Main Document    Page 1 of 4
Case 2:19-bk-20341-RK   Doc 8 Filed 10/01/19 Entered 10/01/19 11:20:28   Desc
                         Main Document    Page 2 of 4
Case 2:19-bk-20341-RK   Doc 8 Filed 10/01/19 Entered 10/01/19 11:20:28   Desc
                         Main Document    Page 3 of 4
Case 2:19-bk-20341-RK   Doc 8 Filed 10/01/19 Entered 10/01/19 11:20:28   Desc
                         Main Document    Page 4 of 4
